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                                   UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                         ORLANDO DIVISION

     UNITED STATES OF AMERICA

     -vs-                                                              Case No. 6:06-cr-125-Orl-19KRS

     SHARIKA MICHELLE FLOWERS #23
     ___________________________________

                                    REPORT AND RECOMMENDATION

     TO THE UNITED STATES DISTRICT COURT

            This cause came on for consideration after oral argument on the following motion filed herein:

                MOTION:         AMENDED MOTION TO WITHDRAW PLEA (Doc. No.
                                1193)

                FILED:      January 29, 2007
                _____________________________________________________________

                THEREON it is RECOMMENDED that the motion be GRANTED.

            Defendant Sharika Michelle Flowers seeks to withdraw her plea of guilty because the attorney

     she retained to represent her in this case, John Albert, had undisclosed potential conflicts of interest.

     Specifically, Attorney Albert represented Amy Brown-Senat, a codefendant of Ms. Flowers, in related

     state court proceedings. Attorney Albert also represented Reginald Wright, the movant’s boyfriend,

     in related state court proceedings. Ms. Flowers represents that Wright claimed ownership of the

     cocaine that underlies, in part, the charges against her in the present case. Attorney Albert did not

     reveal that he represented Brown-Senat or Wright to the Court. The United States does not oppose the

     motion.
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              Attorney Albert was invited to attend the hearing on the motion to withdraw, but he did not

     do so. A letter from Attorney Albert to the newly appointed counsel for Ms. Flowers was admitted

     into evidence. In the letter, Attorney Albert did not address the potential conflicts of interest. Rather,

     he wrote to advise appointed counsel that he would not deliver to her the discovery produced to him

     by the United States in the present case.1

              Defendant Sharika Michelle Flowers has not been sentenced in this case. I advised Ms.

     Flowers at the hearing on the motion to withdraw her guilty plea of the consequences of granting the

     motion, including the possibility that the United States would withdraw the plea agreement and the

     information and file a superseding indictment. Ms. Flowers stated that despite these possible

     consequences, she wished to withdraw her guilty plea.

     II.      LEGAL ANALYSIS.

              Federal Rule of Criminal Procedure 11(d) provides that “[a] defendant may withdraw a plea

     of guilty. . . after the court accepts the plea, but before it imposes sentence if: . . . the defendant can

     show a fair and just reason for requesting the withdrawal.” The United States Court of Appeals for

     the Eleventh Circuit has explained that this provision “is to be liberally construed.” United States v.

     Buckles, 843 F.2d 469, 471 (11th Cir. 1988).

              “[T]here is no absolute right to withdraw a guilty plea prior to imposition of sentence. The

     decision to allow withdrawal is left to the sound discretion of the trial court.” Id. The defendant has

     the burden of establishing a fair and just reason supporting withdrawal of her guilty plea. “In



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                 The Court need not consider at this time whether Attorney Albert should be required to furnish the discovery
     materials in his possession to current counsel for Ms. Flowers because alternative arrangements are being made to provide the
     discovery to current counsel.

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     determining whether the defendant has met this burden, the district court may consider the totality of

     the circumstances surrounding the plea. . . . Factors analyzed include (1) whether close assistance of

     counsel was available; (2) whether the plea was knowing and voluntary; (3) whether judicial resources

     would be conserved . . . ; and (4) whether the government would be prejudiced if the defendant were

     allowed to withdraw his plea.” Id. at 472. “The district court may be reversed only if its decision is

     arbitrary or unreasonable.” Id. at 471.

             A defendant has a right to conflict-free counsel. When, as here, the attorney for the defendant

     represents or represented others whose interests conflict with that of the defendant, a potential conflict

     of interest arises. Joint representation of individuals with conflicting interests can prevent the attorney

     for the defendant from exploring possible plea agreements that would result in one of the attorney’s

     clients being required to testify against another of the attorney’s clients, and may limit the ability to

     examine and cross-examine witness if doing so would require revealing information learned in

     confidence from a client, among other things. See, e.g. Holloway v. Arkansas, 435 U.S. 475, 489-90

     (1978); United States v. Ross, 33 F.3d 1507, 1523-25 (11th Cir. 1994).

             In this case, Ms. Flowers represents that Attorney Albert’s representation of Reginald Wright

     created an actual conflict, because in order to provide a proper defense to Ms. Flowers, Albert would

     be required to present evidence that Wright owned the cocaine found at Ms. Flowers and Mr. Wright’s

     residence. Attorney Albert was given an opportunity to appear and present evidence regarding

     whether such a potential conflict existed, but he did not do so. Thus, because of the potential conflict

     of interest, Ms. Flowers was deprived of the close assistance of conflict-free counsel, and her decision

     whether to plead guilty may have been different has she had such assistance. The United States does



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     not argue that it would be prejudiced by granting the motion. While judicial resources will not be

     conserved by permitting withdrawal of the guilty plea, this factor is not sufficient, considering the

     totality of the circumstances, to warrant denial of the motion.

              Accordingly, because Ms. Flowers is entitled to conflict-free counsel, and she has not waived

     that right, she has presented a fair and just reason to withdraw her guilty plea.2

             Respectfully recommended in Orlando, Florida on this 13th day of February, 2007.

                                                                                    Karla R. Spaulding
                                                                               KARLA R. SPAULDING
                                                                         UNITED STATES MAGISTRATE JUDGE


    Copies furnished to:

    Presiding District Judge
    Counsel of Record
    Unrepresented Parties
    Courtroom Deputy




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                 In an abundance of caution, I will issue an amended scheduling order as to Ms. Flowers so that the matter will be
     ready to proceed to trial should the Court accept this recommendation.

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